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That the land and premises, the title to which, the applicant seeks to acquire by these proceedings, are required for the purposes of the corporation is beyond dispute, as is also the fact that the corporation has been unable to agree for the purchase, by reason of the unwillingness or inability of the owners, the present appellants, to treat for the sale of the same for railroad purposes. *Page 551 
The best, and highest evidence of the necessities of the applicant is, that since 1858, the company has been in the actual use and occupation of the land at a large annual rent, and at a large expenditure for structures thereon, for purposes connected with the running and operating its railroad. While courts will not allow railroad corporations to avail themselves of the statutory grant of power, to take lands in invitum, by taking that which they do not require for a bona fide purpose, sanctioned by the act of the legislature, when really required in good faith for the purposes of the act, they will not interfere to prevent the taking. (Webb v. The Manchester and Leeds R.Co., 4 Mylne and Craig, 116.) It is now quite too late to object, that the objects and purposes of railroad corporations are not public, or that the duties devolved upon them, and the services rendered by them are not of a public character, and in furtherance of public interests.
The public have an interest in the use of a railroad, and in the proper performance of every power within the franchise conferred upon a railroad corporation, and hence every facility needed by such corporation is for public purposes, and whatever is required to enable the corporation to perform its duty to the public, is within the principle which permits a delegation of power to it. The right of eminent domain, which is but a right of the people or government to resume the possession of lands for public use, and subject to which right property is always held, may be delegated to individuals, corporations or municipalities for like use, and that the construction and operating of a railroad is such a use as justifies a delegation of this right is now beyond question, and is not open for consideration. (In reR.  S.R. Co. v. Davis, 43 N.Y., 137; Beekman v. Saratogaand Schenectady R. Co., 3 Paige, 45.) It is undoubtedly true, as claimed in behalf of the appellants, that the grant of power being in derogation of common right is not to be extended by implication, and that the act conferring the power must be strictly complied with. These principles are elementary. But statutes granting these powers are not to be construed so literally, *Page 552 
or so strictly as to defeat the evident purpose of the legislature. They are to receive a reasonably strict and guarded construction, and the powers granted will extend no further than expressly stated, or than is necessary to accomplish the general scope and purpose of the grant. If there remains a doubt as to the extent of the power, after all reasonable intendments in its favor, the doubt should be solved adversely to the claim of power. The purposes for which lands may rightfully be condemned to the uses of a railroad company are not necessarily confined to those needful for the track, but the legislature may confer the right to take lands compulsorily, for all needful purposes of the road and works proper and necessary to enable it to perform the public service authorized by its charter. The extent of the power depends upon the terms of the grant. The act under which the power is sought to be exercised by the present applicant, authorizes the taking of any such estate which it shall require, "for the purposes of its incorporation, or for the purpose of running or operating its road." (Laws of 1869, chap. 237, § 1.) The language of the act is very general and comprehensive. If lands are required for any of the purposes of the incorporation, or for the purpose of operating and running the road, that is, in the proper enjoyment and exercise of the franchise conferred, and in the performance of the service to the public assumed by it, they may be taken in invitum. The only limit to the power is the reasonable necessity of the corporation in the discharge of its duty to the public. The right to take lands upon which to erect a manufactory of cars, or dwellings for operatives, is not included in the grant. Such purposes are not legitimately and necessarily connected with the management, the running and operating of the railroad. (Eldridge v. Smith, 34 Vt., 484;Brainerd v. Peck, id., 496.) Neither can lands be taken for a mere subsidiary or extraordinary purpose. But passenger depots, convenient and proper places for the storing and keeping cars and locomotives when not in use, proper, secure and convenient places having reference to the public interests to be subserved, for the receipt *Page 553 
and delivery of freight, and for the safe and secure keeping of property between the time of its receipt and dispatch, or after its arrival and discharge, and before its removal by the owner or consignee, are among the acknowledged necessities for the running and operating the railroad, to the proper prosecution of the business in the interests of the public. They may be regarded as indispensable to the accomplishment of the general purposes of the corporation and the design of the legislative grant.
The purpose and object for which these lands are required are clearly within the scope of the grant. In The Rensselaer andSaratoga Railroad Company v. Davis (supra), the application was not for the bona fide purposes of the corporation, but for speculative purposes, and in fraud of the act conferring the power. The lands were not wanted for any legitimate purpose authorized by the act; and the court, in the just exercise of the power vested in it, to supervise and control the discretion of corporations in the exercise of statutory powers, and following well established precedents, by its decision prevented the appropriation of individual property to private use. (Flower v.London, Brighton and South Coast. R. Co., 2 Drew  Sm., 330.) It is claimed that there are other lands in the same vicinity, equally well adapted to the use of the applicant, as those sought to be acquired by these proceedings, and which, possibly, might be acquired by purchase from the owners. But such objections to these proceedings are untenable. The location of the buildings of the company, is within the discretion of the managers, and courts cannot supervise it. The legislature has committed to the discretion of the corporation the selection of lands for its uses, and if the necessity of lands for such purposes is shown and the lands sought are suitable, the courts cannot control the exercise of the discretion, or direct which of several plats of ground shall be taken. If the taking of one plat of ground in preference to another could be shown to work great mischief, and result in great loss, which could be prevented by taking another, and the proceeding to take one *Page 554 
parcel compulsorily, in preference to another equally well adapted to the uses of the company, is from some unworthy or malicious motive, and not in the interests of the public, the court might entertain the question, and in the exercise of a sound discretion withhold its consent to the appropriation. But in this case there are good reasons, resulting from the present occupation of, and the expensive improvements put upon these premises by the appellant, why they should be taken if suitable and proper for the purposes required, the owners not claiming that they will sustain any especial injury peculiar to themselves, which would not be sustained by the owners of adjacent lands, if taken.
The only other question that need be considered, is the objection that there is no present necessity for these proceedings, for the reason that the applicant is now the lessee of the premises for a term having several years yet unexpired, with the right to occupy them for any of the purposes of the incorporation. The evidence shows that since the taking of the lease by the applicant, the business of the road has greatly changed in character, as well as increased in amount and volume; that the growth and increasing commerce of the city has made necessary great and material changes in the location of the depots, freight and car-houses, and other works and structures of the company; that the protection of the city against fires, as well as the proper security and protection of property intrusted to the corporation, while legitimately in its custody in the prosecution of its authorized business, as well as to enable it to furnish to the public the reasonable and proper facilities, which are demanded by the necessities of the appropriate business of the corporation, require that the present temporary and combustible structures on the lands should be removed, and larger and more permanent structures take their place, less liable to destruction by fire, and which would furnish a better and more desirable, as well as more safe and secure, deposit for goods, while necessarily in its custody, and that such improvements would cost at least $125,000. The making of these improvements *Page 555 
are directly in and for the public interests, and not merely a matter of convenience or profit to the corporation. The public cannot reasonably require these expensive and permanent buildings, to be put upon lands of which the railroad company is not the owner, and of which it has the use for a period less than ten years, without the privilege of a renewal of the lease, or a right to purchase the premises at the expiration of the term. The value of the materials upon a removal of the buildings would be but trifling compared with the cost and value of the buildings themselves. The necessity is a permanent necessity, and the uses are permanent and not temporary. The right to use the property under the lease is temporary, and does not supply the permanent necessities of the company. A usufructuary right either temporary as to its continuance, or limited in its character, does not give to the applicant, the property, the land which it has a right under the statute to acquire for its purposes. Whenever the interest acquired under its lease, is not such an interest as the proper running and operating its road requires, there can be no good reason why proceedings may not be taken to acquire the land in place of the term under the lease. The necessity is a present necessity, having respect to the present wants of the public, and the application is based upon the present business of the corporation, and the wants of the public, and not upon any future and contingent or conjectural needs, either of the corporation or the public. The taking of the lease does not create an estoppel against this application. The application is not to condemn the rent, or the right to the rent for the term. It is to acquire the land, subject to the lease, the remedy which has become necessary for the purposes of the corporation.
The order must be affirmed with costs.
All concur save RAPALLO, J., having been of counsel not sitting.
Order affirmed. *Page 556 